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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                                 Master Docket No. 1:19-md-2875
 In Re: Valsartan NDMA Products                  Honorable Robert B. Kugler
 Liability Litigation                            Magistrate Judge Joel Schneider
 MICHAEL SHEMES,

                      Plaintiff,
                                                 MOTION FOR
                    v.                           SUBSTITUTION OF PARTY

 AUROBINDO PHARM, LTD.; AUROLIFE
 PHARMA, LLC; ACTAVIS, LLC; ACTAVIS MDL No. 2875
 PHARMA, INC; AUROBINDO PHARMA
 USA, INC.; CVS HEALTH.; HUMANA
 PHARMAY, INC.; JOHN DOE; CVS
 PHARMACY, INC.; ZHEJIANG HUAHAI
 PHARMACEUTICAL CO., LTD.; SANDOZ,
 INC.,

                         Defendants.




               The named Plaintiff in this action, Michael Shemes, died on July 30, 2022. See

     Certificate of Death, Exhibit A. On September 23, 2022, Dolores A. Shemes, Mr.

     Shemes’ widow, was appointed Special Administrator of the Estate of Michael Shemes.

     See Letters of Special Administration, Exhibit B. Pursuant to Fed. R. Civ. P. 25(a)(1),

     Plaintiff respectfully moves that Dolores Shemes be substituted as the proper party in

     this action pursuant to her status as the Special Administrator of the Estate of Michael

     Shemes.
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       Dated: Wednesday, March 8, 2023

                                         Respectfully submitted,

                                         /S/ MARK T. SADAKA
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                                         SADAKA ASSOCIATES LLC
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of March, 2023, I electronically filed the foregoing

 with the clerk of the court by using the CM/ECF system, which will send notice to all

 Defendants of record.




 Dated: Wednesday, March 8, 2023




                                                   /S/ MARK T. SADAKA
                                                   Mark T. Sadaka, Esq., MSPH
